Case 8:20-mc-00127-JLS-JDE Document 15 Filed 12/30/20 Page 1 of 2 Page ID #:1299



 Matthew S. Warren (Bar No. 230565)
 Jennifer A. Kash (Bar No. 203679)
 Maissa Chouraki (Bar No. 307711)
 WARREN LEX LLP
 2261 Market Street, No. 606
 San Francisco, California, 94114
 +1 (415) 895-2940
 +1 (415) 895-2964 facsimile
 20-127@cases.warrenlex.com

 Attorneys for HMD Global Oy


                         UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                           SOUTHERN DIVISION
 ___________________________________
                                     ) Case No. 8:20-mc-127 JLS (JDEx)
 HMD GLOBAL OY,                      )
                                     ) NOTICE OF WITHDRAWAL
    Movant,                          ) OF OPPOSED EX PARTE
                                     ) APPLICATION BY HMD GLOBAL
 v.                                  ) OY FOR CLARIFICATION OF THIS
                                     ) COURT’S SEALING PROCEDURES
 ACACIA RESEARCH CORPORATION, )
                                     ) Judge: John D. Early
    Respondent.                      ) Date: [TBD]
                                     ) Time: [TBD]
                                     ) Place: [TBD]
                                     ) Discovery Cutoff: March 18, 2021
                                     ) Pretrial Conference: June 29, 2021
 ___________________________________ ) Trial Date: August 2, 2021

 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
       Yesterday, movant HMD Global Oy filed its Ex Parte Application for Clarification
 of this Court’s Sealing Procedures. Docket No. 13. This afternoon, counsel for HMD
 Global conferred with joint counsel for respondent Acacia Research Corporation (“ARC”)
 and Cellular Communications Equipment LLC (“CCE”), the plaintiff in the underlying
 action. Declaration of Matthew S. Warren (“Warren Decl.”), Exs. A, B. During this
 conference, ARC indicated that it would file tomorrow “declarations regarding the

                                                NOTICE OF WITHDRAWAL OF EX PARTE APPLICATION
Case 8:20-mc-00127-JLS-JDE Document 15 Filed 12/30/20 Page 2 of 2 Page ID #:1300



 confidentiality of documents filed under seal” by HMD Global on Monday, December 21,
 2020, and asked whether HMD Global would oppose a “motion for an extension of time to
 submit” these declarations. Id. HMD Global confirmed that it would not oppose. Id.
       Joint counsel for ARC and CCE also “proposed that, in exchange for HMD’s
 agreement to withdraw its ex parte motion and thereby obviate ARC’s need to respond,
 CCE agrees not to seek any relief from Judge Gilstrap based on a contention that HMD
 violated his December 16 Order by its 12/21 filing.” Id. HMD Global accepted this
 proposal. Id.
       Honoring this agreement, HMD Global now withdraws its ex parte application,
 Docket No. 13.


 Date: December 30, 2020                      Respectfully submitted,

                                              ______________________________
                                              Matthew S. Warren (Bar No. 230565)
                                              Jennifer A. Kash (Bar No. 203679)
                                              Maissa Chouraki (Bar No. 307711)
                                              WARREN LEX LLP
                                              2261 Market Street, No. 606
                                              San Francisco, California, 94114
                                              +1 (415) 895-2940
                                              +1 (415) 895-2964 facsimile
                                              20-127@cases.warrenlex.com




                                        –1–                             Case No. 8:20-mc-127
                                                NOTICE OF WITHDRAWAL OF EX PARTE APPLICATION
